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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )
                                              )       Case No. 1:18-CR-00260-ABJ
W. SAMUEL PATTEN,                             )
                                              )
                       Defendant.             )
                                              )

                     GOVERNMENT’S RESPONSE TO MOTION FOR
                       EARLY TERMINATION OF PROBATION

       The United States, through undersigned counsel, hereby informs the Court of pertinent

information regarding the defendant’s Motion for Early Termination, as well as the Government’s

lack of opposition to said Motion.

       The defendant admitted his misconduct to the Court when he pleaded guilty on August 31,

2018 to a one-count information charging him with violating the Foreign Agents Registration Act

(22 U.S.C. §§ 612, 618(a)(1)). At sentencing the following April, the Court required Mr. Patten

to serve a three-year term of probation that included special conditions requiring him to perform

500 hours of hands-on community service over the course his term of probation, participate in

alcohol and substance abuse treatment and testing, continue his mental health treatment, and pay

a $5,000 fine as well as court costs. ECF Dkt. # 47 at 4-5.

       The defendant has been compliant with the terms of both his pre-trial release and his

probation. The presentence investigation report filed by the pretrial services officer shortly before

his sentencing reveals that, with the exception of two missed telephonic reports to the pretrial

services officer over a seven-month period, the defendant followed all conditions imposed for his

release.



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       Regarding his period of probation, the defendant’s probation officer, Andre Wilson, has

advised undersigned counsel of the following:

       -   The defendant has been compliant with the terms of his probation and has satisfied all
           the special conditions of his probation, to include all 500 hours of his community
           service and payment of the $5,000 fine as required.

       -   The defendant is currently on a program of decreased monitoring reserved for
           probationers who are deemed a low-risk to recidivate. As a result, he is not currently
           required to report in person or by phone to the probation officer. Instead, he files a
           report on line at regular intervals.

       -   The probation officer does not oppose the early termination of the defendant’s
           probation.

       In addition, the defendant acceded to a request to debrief with the government on April,

17, 2020. On that date, the defendant met in person with the government in the presence of his

attorney, and answered questions for approximately 2.5 hours. The government investigators

assess that the defendant did not appear evasive or deceitful, appeared to answer all the questions

put to him to the best of his ability, and admitted to a lack of knowledge or memory when

appropriate. The government views the defendant’s debrief as being helpful to ongoing

investigations.

       Under all these circumstances, the government does not oppose the defendant’s Motion for

Early Termination of Probation.

       Dated: May 14, 2020

                                             Respectfully submitted,

                                             TIMOTHY J. SHEA
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 437437


                                         By: /s/ Thomas A. Gillice
                                            Thomas A. Gillice
                                            D.C. Bar No. 452336

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